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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF OHIO
                             EASTERN DIVISION

UNITED STATES OF AMERICA,                   :

                         PLAINTIFF,         :
                                                  CASE No. 2:11-CR-52
      vs.                                   :     JUDGE ECONOMUS

CHRISTOPHER B. THOMPSON,                    :

                    DEFENDANT.     :
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
UNITED STATES OF AMERICA,          :

                         PLAINTIFF,         :
                                                  CASE No. 2:11-CR-128
      vs.                                   :     JUDGE GRAHAM

JASON R. CAINES, et al.,                    :

                         DEFENDANTS.        :

        UNITED STATES MOTION FOR RECONSIDERATION OF RELATED
            CASE DETERMINATION AND FOR CONSOLIDATION

      Now comes the United States and moves this Court for a

reconsideration of the related case determination in the above

styled cases and for a consolidation of the earlier case with the

later case for the reasons in the attached Memorandum in Support.

                                            Respectfully submitted,

                                            CARTER M. STEWART
                                            United States Attorney

                                            s/Deborah A. Solove
                                            DEBORAH A. SOLOVE (0024552)
                                            Assistant United States Attorney
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                           MEMORANDUM IN SUPPORT

      The United States indicted Christopher B. Thompson who was

the organizer of an extensive conspiracy of individuals traveling

to Florida to obtain oxycodone for later distribution in the

central Ohio area.       It later indicted fifteen members of that

conspiracy and indicated that the cases were related to the

Christopher B. Thompson case.           The cases, however, were not

assigned to the same judges.         (R. 55, CR2-11-128)

      Currently, five of the conspirators have been sentenced by

Judge Graham in Case No. CR2:11-128.           It is clear that Judge

Graham has become well acquainted with the scope of and the

individuals involved in the conspiracy.            The sentences have, over

objections by the United States, been significant downward

variances from the guidelines ranges.            In fairness, all of the

conspirators including the organizer, Christopher B. Thompson,

should be sentenced by the same judge.

      This request has been discussed with counsel for Christopher

B. Thompson, David Rieser, who has stated that he has no

objection to the consolidation of these cases.

      Accordingly, for good cause shown, the United States moves

for a reconsideration of the related case decision.

                                            Respectfully submitted,

                                            CARTER M. STEWART
                                            United States Attorney

                                            s/Deborah A. Solove
                                            DEBORAH A. SOLOVE (0024552)
                                            Assistant United States Attorney

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                              CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing Motion was

served this 29th day of November, 2011, electronically, on all

counsel of record.




                                            s/Deborah A. Solove
                                            DEBORAH A. SOLOVE (0024552)
                                            Assistant United States Attorney




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